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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                       FORT LAUDERDALE DIVISION
                                        CASE NO: 0:24-cv-60161-WPD

  WHERE’S EILEEN, LLC; MARK J.
  FISCHER and EILEEN FISCHER,

                      Plaintiffs,
  v.

  ACE AMERICAN INSURANCE COMPANY,

              Defendant.
  _____________________________________________/

                   PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT’S
                       MOTION TO STAY AND COMPEL ARBITRATION

              COMES NOW, Plaintiffs, Where’s Eileen, LLC (“Where’s Eileen”), Mark J. Fischer and

   Eileen Fischer (“Mr. and Mrs. Fischer”), by and through undersigned counsel, and pursuant to

   Local Rule 7.1, hereby file this Response in Opposition to Defendant’s Motion to Stay and Compel

   Arbitration [DE 11] (the “Motion”), and respectfully states as follows:

              I. INTRODUCTION

              Despite attempting to work an acceptable agreement to arbitrate the dispute between the

   parties,1 Ace American Insurance Company (“ACE”) and the Plaintiffs simply cannot reach

   agreement. Regardless of these negotiations, the facts are that: 1) ACE does not have a binding

   arbitration clause as to Plaintiffs, Mr. and Mrs. Fischer; and 2) ACE has waived its right to compel

   arbitration by waiting almost four (4) years to seek it. Therefore, this Court should deny ACE’s

   Motion.




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       See P’s Motions [DE 13] and [DE 15].
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              II. FACTS AT ISSUE TO MOTION

              “WHERE’S EILEEN” is a 2019, 112’ Ocean Alexander motor yacht, HIN No.

   OAX11204B819 (the “Vessel”) that was insured under ACE’s Policy No. Y09879407 (the

   “Policy”). Compl. [DE 1-1] at ¶9. The effective dates of the Policy were June 10, 2019 to June

   10, 2020. Id. at ¶12.

              The Policy includes a Florida Amendatory Endorsement which states in relevant part (the

   “Florida Endorsement”):

              You agree not to bring legal action against us unless you have first complied with
              all conditions of this policy. For property, you also agree to bring any action against
              us within five years after a loss occurs, but not until 30 days after proof of loss has
              been submitted to us. However, this five-year period is extended by the number of
              days between the date that proof of loss is submitted and the date the claim is denied
              in whole or in part.

   Policy [DE 1-1] at 75 (emphasis added).2

              The subject Policy contains the following “Alternate dispute resolution” Clause (the

   “Arbitration Clause):

              Any dispute, controversy, proceeding or claim, whether in contract, tort, common,
              or statutory law, arising out of or relating to:
              · any claim made under this Policy for loss or damage; or
              · the breach, termination, enforcement, interpretation, or validity of this Policy,
              including the determination of the scope or applicability of this Dispute resolution
              provision; or
              · the relationship between you and us,
              may be resolved by arbitration as provided below.
              The arbitration will be conducted pursuant to the current Marine Arbitration Rules
              and the Shortened Arbitration Procedure of the Society of Maritime Arbitrators,
              Inc. The appointment of arbitrator(s) shall be conducted as follows:
              · the parties shall agree on a sole arbitrator to decide the disputed issue;
              · if the parties are unable to agree on a sole arbitrator, each party will appoint an
              arbitrator and those two (2) arbitrators will appoint a third who will serve as the
              chair of the arbitration panel. If one party fails to appoint its arbitrator or the two
              party-appointed arbitrators fail to appoint a third arbitrator, the parties are directed
              to follow the Rules of the Society of Maritime Arbitrators, Inc.;

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       Page numbers listed are those produced by the CM/ECF system.
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              · any hearings shall be conducted in a locality agreed by the parties. If the parties
              cannot agree on a locality, then any hearing(s) shall be conducted in the State
              appearing in your address as contained upon the Declarations Page;
              · in the event of a conflict between the Rules of the Society of Maritime Arbitrators,
              Inc. and this Policy, the terms of this Policy shall govern;
              · a demand for arbitration must be served on the other party or parties within one
              (1) year of the date we issue our final coverage determination;
              · we may arbitrate the amount of your loss or damage without waiving our right to
              determine coverage or a lack of coverage for the loss;
              · any decision of the arbitrator(s) shall be final, binding on the parties hereto, and
              not subject to further review; and
              judgement3 upon any award rendered by the arbitrator(s) may be entered in any
              court having jurisdiction.

   Policy [DE 1-1] at 70-71 (emphasis added).

              The Vessel suffered two losses during the policy period. The first loss occurred on June

   29, 2019 when the Vessel suffered a partial flooding when a toilet’s solenoid valve malfunctioned

   while docked in Baltimore, Maryland. Compl. [DE 1-1] at ¶29. The damage included floor wood

   panel damage, carpet damage, wall fabric damage, veneer damage, and water damage to the

   Vessel’s sky lounge. Id. at ¶¶30-32. The second loss occurred on September 9, 2019, while the

   Vessel experienced a direct lightning strike while cruising at sea off the coastline of North

   Carolina. Id. at ¶33. The lightning struck the Vessel’s starboard VHF antenna, travelled through

   the fiberglass arch continuing through the hull, machinery, and wiring of the Vessel and exited

   through the starboard propeller shaft. Id. at ¶35. As a result of the lightning strike, the insured

   Vessel was dead in the water in the Atlantic Ocean. Id. at ¶37.

              Both the flooding incident and the lightning strike constitute insured “occurrences” under

   the Policy terms and Where’s Eileen filed timely notices of loss with the insurer. Id. at ¶¶16-18;

   see also Proof of Loss dated April 7, 2020, attached hereto as Exhibit 1. On May 26, 2020, ACE

   issued a payment of $1,404,178.22 for the losses (the “Partial Payment”). Id. at ¶¶89-90. In the


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       “E” is in original Policy.
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   letter enclosing payment, ACE’s attorneys confirm that “[ACE] has accepted and acknowledged

   coverage relating to the lightning strike onboard your client’s vessel…” See letter from ACE’s

   attorneys dated May 26, 2020 attached hereto as Exhibit 2. ACE also admitted that it was

   responsible for paying the flooding damage, again, accepting and acknowledging coverage under

   the Policy. Compl. [DE 1-1] at ¶¶101, 105-106. There have been no other payments from ACE to

   Where’s Eileen since May, 26, 2020. Compl. [DE 1-1] at ¶¶91-93.

          Where’s Eileen issued its Notice of Intent to Initiate Litigation on October 6, 2023 (the

   “Notice” at [DE 1-3]). The Plaintiffs filed suit on December 23, 2023, well after its Proofs of Loss,

   P’s Ex.1, as required by the Florida Endorsement. Despite admitting coverage for both claims,

   receiving Where’s Eileen’s Proof of Loss and paying Where’s Eileen over $1 million and receiving

   notice of the Notice, ACE did nothing to seek arbitration.

          III. STANDARD OF REVIEW

           “FAA’s policy favoring arbitration does not authorize federal courts to invent special,

   arbitration-preferring procedural rules.” Morgan v. Sundance, Inc., 596 U.S. 411, 142 S. Ct. 1708,

   1713, 212 L. Ed. 2d 753 (2022) (citing Moses H. Cone Memorial Hospital v. Mercury Constr.

   Corp., 460 U. S. 1, 24, 103 S. Ct. 927, 74 L. Ed. 2d 765 (1983)). The policy is to “make arbitration

   agreements as enforceable as other contracts, but not more so.” Id., citing Prima Paint Corp. v.

   Flood & Conklin Mfg. Co., 388 U. S. 395, 404, n. 12, 87 S. Ct. 1801, 18 L. Ed. 2d 1270 (1967).

   Accordingly, a court must hold a party to its arbitration contract just as the court would to any

   other contract and apply ordinary state law contract principles in doing so. Id. at 1713-14, citing

   Dean Witter Reynolds Inc. v. Byrd, 470 U. S. 213, 218-221, 105 S. Ct. 1238, 84 L. Ed. 2d 158

   (1985); National Foundation for Cancer Research v. A. G. Edwards & Sons, Inc., 821 F. 2d 772,

   774, 261 U.S. App. D.C. 284 (D.C. DC 1987).

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           Thus, in ruling on a motion to compel arbitration, the Court must evaluate whether: (a) the

   parties agreed to arbitrate; (b) ACE can compel the Plaintiffs to arbitrate the claims made in

   Plaintiffs’ Complaint and; (c) ACE waived the right to compel arbitration. Oscar Morales, James

   Esserman & Rafael Perez MD, LLC v. Perez, 952 So. 2d 605 (Fla. 3d DCA 2007). Florida law

   provides that “[t]he court shall decide whether an agreement to arbitrate exists or a controversy is

   subject to an agreement to arbitrate.” Florida Statute § 682.02(2). “Courts should not assume that

   the parties agreed to arbitrate arbitrability unless there is ‘clea[r] and unmistakabl[e]’ evidence that

   they did so.” AT&T Techs., Inc. v. Commc'ns Workers of Am., 475 U.S. 643, 649, 106 S. Ct. 1415,

   89 L. Ed. 2d 648 (1986). The law treats silence or ambiguity about the question “’who (primarily)

   should decide arbitrability’ differently from the way it treats silence or ambiguity about the

   question ‘whether a particular merits-related dispute is arbitrable because it is within the scope of

   a valid arbitration agreement’ -- for in respect to this latter question the law reverses the

   presumption.” First Options of Chi., Inc. v. Kaplan, 514 U.S. 938, 944-45, 115 S. Ct. 1920, 1924

   (1995) (emphasis in original). “[W]aiver of arbitration rights is now evaluated under the same

   state-law standards governing other contract waiver issues.” Derriman v. Mizzen & Main LLC,

   2023 U.S. Dist. LEXIS 230653, at *11 (M.D. Fla. Dec. 29, 2023) (citing Morgan v. Sundance,

   Inc., 596 U.S. 411, 417-18, 142 S. Ct. 1708, 212 L. Ed. 2d 753 (2022)).

           IV. THIS COURT, NOT AN ARBITRATION PANEL, MUST ESTABLISH
               ARBITRABILITY

           The Policy does not state that arbitrators can determine arbitrability. The word

   “arbitrability” or anything related to arbitrability is not found in the Policy and certainly not in the

   Arbitration Clause. As such, the determination of arbitrability must be undertaken by the Court.

   First Options, 514 U.S. 938 at 944-45 (“If, on the other hand, the parties did not agree to submit

   the arbitrability question itself to arbitration, then the court should decide that question just as it
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   would decide any other question that the parties did not submit to arbitration, namely,

   independently.”); see also § 682.02, Fla. Stat. (2023) (“by statute in Florida, the court decides what

   controversies are subject to an arbitration agreement”); see also Fallang Fam. Ltd. P'ship v.

   Privcap Cos., LLC, 316 So. 3d 344, 348 (Fla. 4th DCA 2021)( “A court decides the gateway issues

   of whether an agreement to arbitrate exists or a controversy is subject to arbitration.”); Sherwood

   v. Slazinski, 162 So. 3d 229, 231 (Fla. 2d DCA 2015) (“Florida Statutes demand” that it is up to a

   court to decide if a matter is subject to arbitration); UATP Mgmt., LLC v. Barnes, 320 So. 3d 851,

   856 (Fla. 2d DCA 2021); see also, Romano v. Goodlette Off. Park, Ltd., 700 So. 2d 62, 63 (Fla.

   2d DCA 1997) (broad language to submit “any dispute” to arbitration is not sufficient to find that

   the parties intended to submit the question of arbitrability to the panel.).

          Thus, this Court should easily find that arbitrability rests with it alone and not the

   arbitration panel.

          V. ACE WAIVED ITS RIGHT TO COMPEL ARBITRATION

          The Arbitration Clause unequivocally states that “a demand for arbitration must be served

   on the other party or parties within (1) one year of the date we issue our final coverage

   determination.” Compl. [DE 1-1] at 70-71. It is clear that ACE did not demand arbitration until

   February 29, 2024, almost four years after its final coverage determination. Mot. [DE 11]. In its

   Motion [DE-11], ACE argues that it has not issued a “final Coverage determination”. However,

   Florida law holds otherwise. By making payment, partial or otherwise, ACE has admitted coverage

   and made a “final coverage determination” as contemplated by the Arbitration Clause in the Policy.

   In Plante v USF&G Specialty Insurance Company, No. 03-23157-CIV, 2004 WL 741382, 2004

   U.S. Dist. LEXIS 4875 at *14 (S.D. Fla. Mar. 2, 2004), reh’g denied, 2004 U.S. Dist. LEXIS 11579

   (S.D. Fla. Jun. 2, 2004) the Court held that “once an insurer has made a payment on plaintiff’s

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   claims, it has waived its coverage defenses that would otherwise exist regardless whether it pays

   the policy limits or an amount less than that… By making payment on Plante’s claim, USF&G did

   not refuse coverage but rather admitted it.” This is because Florida Statute § 627.426(2) provides

   that “an insurer’s failure to provide written notice of its refusal to cover a claim works an estoppel.”

   Id., citing § 627.426(2), Fla. Stat; see also Geico Gen. Ins. Co. v. Mukamal, 230 So. 3d 62 (Fla. 3d

   DCA 2017) (insurer waives coverage defenses if not preserved); Bryant v. GeoVera Specialty Ins.

   Co., 271 So. 3d 1013 (Fla. 4th DCA 2019) (insurer waives requirements in policy when pays sub-

   limits on policy); Axis Surplus Ins. Co. v. Caribbean Beach Club Ass’n, 164 So. 3d 684 (Fla. 2d

   DCA 2014) (insurer waives forfeiture provision when acquiesces to insured’s failures); Lllerena

   v. Lumbermens Mut. Cas. Co., 379 So. 2d 166 (Fla. 3d DCA 1980) (payment of claim constitutes

   admission of liability for coverage); General Motors Acceptance Corp. v. Am. Liberty Ins. Co.,

   238 So. 2d 450 (Fla. 1st DCA 1970) (insurer estopped from denying coverage by reason of the

   conduct of insurer’s agent, here ACE’s attorneys).

          There is a difference in making a coverage determination and adjusting the amount of a

   loss per the terms and conditions of an insurance policy. The wording contained in the Arbitration

   Clause recognizes this difference. Here, ACE clearly made a final coverage determination under

   the law, when its lawyers stated that ACE have “accepted and acknowledged coverage.” P.’s Ex.2.

   The very next bullet point in the Arbitration Clause states as follows: “we may arbitrate the amount

   of your loss or damage without waiving our right to determine coverage or a lack of coverage for

   the loss…” The clear import here is that ACE wanted to “leave its options open” in bringing a

   declaratory judgment action even if arbitration was demanded. See, e.g., FCCI Commer. Ins. Co.

   v. Armour, 132 So. 3d 864 (Fla. 2d DCA 2014) (staying declaratory judgment action improper

   when arbitration action pending). However here, Where’s Eileen invoked its right not to arbitrate

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   by filing this suit, as it is entitled to under the Florida Endorsement4, well after ACE should have

   sought arbitration if it wanted it.

              ACE argues in its Motion that since the $1,404,178.22 Paid was a partial payment, it should

   not be considered a “final coverage determination”. The Arbitration Clause itself distinguishes

   between the amount of a loss or damage and the determination of coverage or lack thereof. To

   accept ACE’s argument would create a situation where an insurer could make partial payment on

   a claim and do nothing else for an indeterminate amount of time until an insured is left little

   recourse but to file suit for breach of contract and still allow the insurer to invoke the arbitration

   provision. This is exactly what happened here. However, the Arbitration Clause does not allow the

   insurer an indeterminate amount of time to demand arbitration but requires a demand for

   arbitration to be made within one-year.

              This is precisely what ACE has argued in other arbitrations against its insureds when using

   the Arbitration Clause as a sword rather than a shield. For example, in the case of Montecalvo, as

   Owner of M/Y WASTE KNOT v. ACE American Insurance Company, SMA No. 4255 at 2 (2015

   (Fox, Arb.)5, ACE issued a partial payment to an insured, which represented, what ACE called “a

   fair and reasonable settlement for the loss.” ACE did in WASTE KNOT what it did in this case,

   where ACE states they are going to pay their number and nothing further. See Compl. [DE 1-1] at

   ¶89-94. While the arbitration clause of the ACE policy at issue in WASTE KNOT is admittedly

   different in that it stated that ”[t]he request for arbitration must be filed within one (1) year of the

   date of loss or damage”, WASTE KNOT at 4, the purpose for the limitation in the arbitration clause

   remained the same—a bar bringing the matter in arbitration beyond 1 year. The arbitrator in




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       Contemplates insured filing suit after submitting Proof of Loss. Policy [DE 1-1] at 75.
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       Attached hereto as Exhibit 3 (“WASTE KNOT”).
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   WASTE KNOT found the purpose of this clause to be clear; to limit the time for which arbitration

   can be commenced to 1 year. Id. at 16.

          As noted above, ACE did not make a demand for arbitration until February 29, 2024, three

   years, nine months, and eighty-seven days since its final coverage determination. Therefore, this

   Court should easily find that ACE waived its right to commence arbitration.

   VI.    ACE Has No Right to Compel Non-Signatories Mr. and Mrs. Fischer to Arbitrate

          Ordinarily, a party cannot compel arbitration under an arbitration agreement to which it

   was not a party. Kratos Invs. LLC v. ABS Healthcare Servs., LLC, 319 So. 3d 97, 101 (Fla. 3d

   DCA 2021); Koechli v. BIP Int'l, Inc., 870 So. 2d 940, 943 (Fla. 1st DCA 2004); Marcus v. Fla.

   Bagels, LLC, 112 So. 3d 631, 633 (Fla. 4th DCA 2013). But Florida and federal courts have

   recognized that principles of equitable estoppel sometimes allow a non-signatory to compel

   arbitration against a signatory to a contract containing an arbitration agreement. Perdido Key

   Island Resort Dev., LLP v. Regions Bank, 102 So. 3d 1, 5 (Fla. 1st DCA 2012); see also Bailey v.

   ERG Enters., LP, 705 F.3d 1311, 1320 (11th Cir. 2013). However, that is not the situation here, as

   Mr. and Mrs. Fischer are not insureds under the Policy, Policy [DE 1-1] at 31 (listing only Where’s

   Eileen as insured on Policy), and have not demanded arbitration.

          A U.S. court’s approach to joining non-signatories to an arbitration depends on the relevant

   state law principles on the validity, revocability, and enforceability of contracts. Perry v. Thomas,

   482 U.S. 483, 493, n.9, 107 S. Ct. 2520, 96 L. Ed. 2d 426 (1987); Caley v. Gulfstream Aero. Corp.,

   428 F.3d 1359 (11th Cir. 2005) (citing Perry). This is not a situation where the limited exceptions

   under Florida law requiring arbitration apply here. See, e.g., Rolls-Royce PLC v. Royal Caribbean

   Cruises, Ltd., 960 So. 2d 768 (Fla. 3d DCA 2007) (noting exceptions limited to non-signatory

   requiring signatory to arbitrate did not apply to the circumstances before that court). Here, ACE

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   lumps Where’s Eileen together with Mr. and Mrs. Fischer in arguing that all the claims, including

   those of non-signatories, must be arbitrated. However, the status of the law in Florida is that people

   in their individual capacities that may have signed documents which have arbitration clauses are

   not signatories to the arbitration clause and cannot be compelled to arbitrate. See, e.g., Perdido

   Key, 102 So. 3d at 5.

          Therefore, this Court should easily find that Mr. and Mrs. Fischer did not agree to arbitrate.

                                                 PRAYER

           WHEREFORE, Plaintiffs, Where’s Eileen, LLC, Mark J. Fischer, and Eileen Fischer,

    respectfully request that this Honorable Court DENY Defendant’s Motion to Stay and Compel

    Arbitration [DE 11], and for such other relief to which is just and proper.

                                                         Respectfully submitted,

                                                         LAW OFFICES OF MICHELLE OTERO VALDES

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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 17, 2024, the foregoing document is being filed with

   this Court and served on all counsel of record or pro se parties identified on the Service List in the

   manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or

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                                              /s/ Michelle Otero Valdés
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